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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

SHEAN SATGUNAM,                  )
          Plaintiff,             )
                                 )                 No. 1:12-cv-220
-v-                              )
                                 )                 HONORABLE PAUL L. MALONEY
MARC BASSON, ET AL.,             )
           Defendants.           )
_________________________________)

                                        JUDGMENT
       The Court held that the defendants violated Plaintiff’s constitutional rights by

suspending his clinical privileges at a state university without due process. (ECF Nos. 108,

131, 187, 204.) The Court found the “hearing was clearly deficient” as a matter of law, as

Plaintiff was, for example, not even allowed “to hear the evidence presented against him,”

and “no reasonable official” would have believed a doctor’s clinical privileges could be

removed without “minimal due-process protections.” (ECF No. 131 at PageID.1196–97.)

       Later, the Court held that although nominal damages were required, compensatory

damages were unavailable for several reasons; first, Plaintiff did not dispute that the

suspension of his privileges was justified when the same decision was made after the Court

ordered a second, procedurally-sufficient hearing that afforded Plaintiff due process; second,

Plaintiff provided no evidence at summary judgment to support any actual injuries suffered

from the denial of due process itself; and third, Plaintiff submitted no additional evidence of

damages. (ECF No. 204 at PageID.1773.) Nonetheless, at the time, Defendants waived any

argument that Plaintiff was not entitled to punitive damages, and remaining factual disputes

with respect to Defendants’ states of mind were resolved yesterday, at jury trial.

 
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       “Because the right to procedural due process is ‘absolute’ in the sense that it does not

depend upon the merits of a claimant’s substantive assertions, and because of the importance

to organized society that procedural due process be observed . . . the denial of procedural

due process [is] actionable for nominal damages without proof of actual injury.” Carey v.

Piphus, 435 U.S. 247, 266 (1978). Accordingly, the Court must award Plaintiff Shean

Satgunam nominal damages in the amount of one dollar to be paid by Defendants.

       The jury found that the conduct of all three remaining defendants to deprive Plaintiff

with minimal due-process protections reflected, at a minimum, reckless or callous disregard

of Plaintiff’s constitutional rights. (ECF No. 301.) Accordingly, the jury awarded Plaintiff

punitive damages in the amount of $25,000.00 against Defendant Marc Basson, $25,000.00

against Defendant Richard Ward, and $50,000.000 against Defendant Kim Wilcox.




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       In accordance with the jury verdict returned and entered (ECF No. 115), and

pursuant to Fed. R. Civ. P. 58, JUDGMENT hereby enters in favor of Plaintiff Shean

Satgunam and against Defendants Marc Basson, Richard Ward, and Kim Wilcox.

       Plaintiff Shean Satgunam is awarded $1.00 in nominal damages, for which all three

defendants are jointly and severally liable; in addition, Plaintiff Shean Satgunam is awarded

punitive damages of $100,000.00, of which Defendant Marc Basson is responsible for an

amount of $25,000.00, Defendant Richard Ward is responsible for an amount of

$25,000.00, and Defendant Kim Wilcox is responsible for an amount of $50,000.00.



       IT IS SO ORDERED.

Date: November 16, 2016                              /s/ Paul L. Maloney
                                                  Paul L. Maloney
                                                  United States District Judge




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